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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
RILEY GAINES, et al.,

       Plaintiffs,
                                             Civil Action No.
V.
                                             1:24-cv-0 1109-MHC
NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION, et al.,

       Defendants.


ORDER GRANTING DEFENDANTS' UNOPPOSED JOINT MOTION FOR
      EXTENSION OF TIME TO RESPOND TO COMPLAINT

      This matter is before the Court on State Defendants and Defendant NCAA's

Unopposed Joint Motion for an Extension of Time to Respond to the Complaint.

For good cause shown, the Motion is GRANTED.

     IT IS THEREFORE ORDERED THAT State Defendants and the NCAA

shall have until June 5, 2024 to answer or otherwise respond to the Complaint.

      SO ORDERED, this 3rd day of May, 2024.




                                         Hon. Mark H. Cohen
                                         United States District Judge
